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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
June 2013 Grand Jury

CR No. “ER 13 00736

UNITED STATES OF AMERICA,

Plaintiff, INDICTMENT
Vv. [31 U.S.C. §§ 5324 (a) (3),
(d) (2): Structuring

aka “Nahid Omidi,” Requirements; 18 U.S.C. § 2:
aka “Nahid Pezeshk,” Aiding and Abetting and Causing
aka “Cindy Pezeshk,” an Act to be Done; 31 U.S.C.
§ 5317 (c): Criminal Forfeiture]

)
)
)
)
)
)
CINDY OMIDI, ) Transactions to Evade Reporting
)
)
)
)
Defendant. }
)

 

 

The Grand Jury Charges:

[31 U.S.C. § 5324(a) (3), (d) (2); 18 U.S.C. § 2]
A. INTRODUCTORY ALLEGATIONS

At all times relevant to this Indictment:

1. The Bank Secrecy Act (“BSA”) was a set of laws and
regulations enacted to address an increase in criminal money
laundering through financial institutions. In order to combat
money laundering, the BSA required domestic financial
institutions to file reports and maintain customer information

for cash transactions that exceeded certain amounts.

 

 
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2. The United States Postal Service (“USPS”) was a
domestic financial institution under the BSA.

3. The BSA required the USPS and other financial
institutions to obtain information about any customer who
purchased $3,000 or more in money orders using cash. The USPS
was required to maintain that information and report it to the
government upon request. The BSA also required the USPS and
other financial institutions to file a Currency Transaction
Report (“CTR”) for any transaction involving more than $10,000
in cash.

4. The USPS reguired its customers who used cash to
purchase $3,000 or more in money orders to show proper
identification and fill out Postal Service Form 8105-A, also
called a Funds Transaction Report (“FTR”.) FTRs recorded
information about the person who brought the cash to the Post
Office to purchase the money orders.

| 5. The USPS operated facilities at the following

locations, all within the Central District of California:

a. Wilshire Business Center Post Office, 10920
Wilshire Boulevard, Los Angeles, California 90024 (“Wilshire
Business Center”);

b. Village Station Post Office, 11000 Wilshire
Boulevard, Los Angeles, California 90024 (“Village Station”);

Cc. West LA Finance Center, 11420 Santa Monica
Boulevard, Los Angeles, California 90025 (“West LA Finance
Center”); and

d. Beverly Hills Main Post Office, 325 Maple Drive,

Beverly Hills, California 90210 (“Beverly Hills Main”).

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6. Defendant CINDY OMIDI, also known as (“aka”) “Nahid
Omidi,” aka “Nahid Pezeshk,” aka “Cindy Pezeshk” (“defendant C.
OMIDI”), resided in Los Angeles County, California, within the
Central District of California, and maintained a Post Office Box
at Village Station.

B. DEFENDANT C. OMIDI’S STRUCTURING

7. Between in or about July 2008 through in or about
December 2009, in Los Angeles County, within the Central
District of California, and elsewhere, defendant C. OMIDI,
together with others known and unknown to the Grand Jury,
knowingly and for the purpose of evading the reporting
requirements of Sections 5313(a) and 5325 of Title 31, United
States Code, and the regulations promulgated thereunder,
structured, assisted in structuring, attempted to structure and
assist in structuring, and aided and abetted in structuring and
caused to be structured, the following transactions, among
others, with a domestic financial institution, namely, the USPS,
as part of a pattern of illegal activity involving more than

$100,000 in a 12-month period:

 

 

Date oo Subtotal Money | Money Order Post Office
Order | Serial #
Amount
8/14/08 $900 $900 | 12656224113 Village Station

 

$2,900] $1,000 | 93648743548 Wilshire Business
$1,000 | 93648743550 Center
$900 | 93648743561

 

 

 

8/25/08 $1,000] $1,000] 12656222886 |Village Station

 

$2,900 | $1,000 | 93648745484 Wilshire Business
$1,000 | 93648745495 Center
$900 | 93648745506

 

 

 

9/16/08 $900 $900 | 12656228207 Village Station

 

$2,900} $1,000 | 93648748151 Wilshire Business
$1,000 | 93648748162 Center
$900 | 93648748173

 

 

 

 

 

 

 

 

 

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Date — Subtotal | Money| Money Order | Post Office ~
9/24/08 $2,900} $1,000 | 12332452476 Beverly Hills Main
$1,000 | 12332452487
$900-| 12332452498
$2,900} $1,000} 12656794781 West LA Finance
, $1,000 | 12656794792 Station
$900 | 12656794803
9/27/08 $2,900; $1,000; 12655758936 Beverly Hills Main
$1,000 | 12655758947
$900 | 12655758958
~ $2,900] $1,000} 13013233200 West LA Finance
$1,000 | 13013233211 Station
$900 | 13013233222
10/15/08 $2,900] $1,000 | 13013240534 West LA Finance
$1,000 | 13013240545 Center
$900 | 13013240556
$2,900} $1,000} 93648815807 Wilshire Business
$1,000 | 93648815818 Center
$900 | 93648815820
$900 $900 | 12656229704 Village Station
10/17/08 $2,900] $1,000 | 12655770592 Beverly Hills Main
$1,000 | 12655770603
$900 | 12655770614
10/20/08 $2,900} $1,000 | 12655766643 Beverly Hills Main
$1,000 | 12655766654
$900 | 12655766665
$2,900] $1,000} 13013248140 West LA Finance
$1,000 | 13013248151 Center
$900 | 13013248162
10/22/08 $2,900} $1,000 ! 09102144690 Beverly Hills Main
$1,000 | 09102144701
$900 | 09102144712
$2,900 | $1,000 | 93648817945 Wilshire Business
$1,000 | 93648817956 Center
$900 | 93648817967
10/29/08 $2,900} $1,000 | 93648818733 Wilshire Business
$1,000 | 93648818744 Center
$900 | 93648818755
10/30/08 $2,900}; $1,000 | 93648818867 Wilshire Business
$1,000 | 93648818878 Center
$900 | 93648818902

 

 

 

 

 

 
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Date — _ Subtotal | Money |Money Order | Post Office
ees. | Order |Serial # fo
10/31/08 $2,900] $1,000 | 16366202594 Beverly Hills Main
$1,000 | 16366202605
$900 | 16366202616
11/5/08 $2,900} $1,000 |} 93552311237 Wilshire Business
$1,000 j 93552311248 Center
$900 | 93552311250
11/6/08 $2,900 | $1,000 | 16366202752 Beverly Hills Main
$1,000 | 16366202763
$900 | 16366202774
11/12/08 $2,900] $1,000 | 16366183007 Beverly Hills Main
$1,000 | 16366183018
$900 | 16366183020
$2,900} $1,000 |} 93552311981 Wilshire Business
$1,000 | 93552311992 Center
$900 | 93552312003
11/18/08 $2,900} $1,000 | 93552313048 Wilshire Business
$1,000 | 93552313050 Center
$900 | 93552313061
11/19/08 $2,900} $1,000 | 16366189048 Beverly Hills Main
$1,000 | 16366189050
$900 | 16366189061
12/9/08 $2,900] $1,000 | 16366185145 Beverly Hills Main
$1,000 | 16366185156
$900 | 16366185167
12/10/08 $2,900! $1,000 | 93552316391 Wilshire Business
$1,000 | 93552316402 Center
$900 | 93552316413
10/15/09 $2,900} $1,000 |} 50239891888 Wilshire Business
$1,000 | 50239891890 Center
$900 | 50239891901
10/16/09 $1,900} $1,000 | 50239891991 Wilshire Business
$900 | 50239892013 Center
11/24/09 $2,900} $1,000 | 50239896480 Wilshire Business
$1,000 | 50239896491 Center
$900 | 50239896502
11/25/09 $2,900] $1,000 | 50239896625 Wilshire Business
$1,000 | 50239896636 Center
$900 | 50239896647

 

 

 

 

 

 
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FORFEITURE ALLEGATION
[31 U.S.C. § 5317 (c)]

8. The Grand Jury incorporates and realleges paragraphs
One through Seven of this Indictment above as though fully set
forth in their entirety herein for the purpose of alleging
forfeiture pursuant to the provisions of Title 31, United States
Code, Section 5317 (c).

9. Defendant C. OMIDI, if convicted of the offense
charged in this Indictment, shall forfeit to the United States
the following property: | |

a. All right, title, and interest in any and all
property involved in the offense committed in violation of Title
31, United States Code, Section 5324(a) (3), and all property
traceable to such property, including the following:

(1) all money or other property that was the
subject of each transaction conducted in violation of Title 31,
United States Code, Section 5324 (a) (3);

(2) all property traceable to money or property
described in this paragraph 2.a.(1).

b. A sum of money equal to the total amount of money
involved in the offense committed in violation of Title 31,
United States Code, Section 5324 (a) (3).

10. If, as a result of any act or omission by defendant C.
OMIDI, any of the foregoing money or property (a) cannot be
located upon the exercise of due diligence; (b) has been
transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court; (d)
has been substantially diminished in value; or (e) has been

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commingled with other property that cannot be subdivided without

difficulty, then any other property or interests of defendant C.

OMIDI, up to the value of the money and property described in

the preceding paragraph of this Indictment, shall be subject to

forfeiture to the United States.

A TRUE BILL

/s/

Foreperson

ANDRE BIROTTE UR.
United States Attorney

(LT.

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

RICHARD E. ROBINSON
Assistant United States Attorney
Chief, Major Frauds Section

CONSUBLO S. WOODHEAD
Assistant United States Attorney
Deputy Chief, Major Frauds Section

AARON M. MAY
Assistant United States Attorney

Major Frauds Section

DAVID L. KIRMAN
Assistant United States Attorney

Major Frauds Section

 

 
